Case 4:22-cr-00612   Document 459-1   Filed on 11/08/23 in TXSD   Page 1 of 10




                       EXHIBIT 1
           Case 4:22-cr-00612        Document 459-1         Filed on 11/08/23 in TXSD           Page 2 of 10


Cordova, Laura

From:                             Cordova, Laura
Sent:                             Thursday, May 4, 2023 10:31 AM
To:                               Armstrong, Scott (CRM); Garner, Mallory (CRM); Liolos, John (CRM); Carter III, Thomas
                                  (USATXS)
Cc:                               Murtha, Michael
Subject:                          RE: Discovery: 22-CR-612


Counsel,

We are following up on our requests for information necessary for our review of the discovery and preparation for trial.
Each of these requests has been outstanding for nearly a month and some much longer. Please provide the following:

    1. The account names and the actual names for each individual referenced in the superseding indictment but not
       named.
    2. Please provide the time zones for all Twitter posts, Twitter DMs, Discord posts, Discord DMs, text messages, and
       any other social media or other messages produced. It appears that these have been produced in various time
       zones, and many of the materials produced do not identify the time zone in which the messages are provided.
    3. Also, in your March 22, 2023 letter you state that some trading blotters are produced in “Eastern Standard
       Time” and others in “Eastern Time.” Are these the same or do you intend to indicate that there is a difference
       between the time zones in which these records are provided?
    4. Please confirm that you have produced all Rule 16 material for Mr. Hennessey. Your message below refers only
       to “Mr. Hennessey’s messages that were seized.” As you know, Rule 16 encompasses more than seized
       messages, so please confirm that all Rule 16 materials for Mr. Hennessey have been produced.

If the government intends to provide this information, please let us know when. If the government does not intend to
provide this information, please let us know the basis for withholding it.

Best regards,
Laura




Laura M. Kidd Cordova




From: Cordova, Laura
Sent: Friday, April 7, 2023 10:35 AM
To: 'Armstrong, Scott (CRM)' <Scott.Armstrong@usdoj.gov>; Garner, Mallory (CRM)
Liolos, John (CRM) <John.Liolos@usdoj.gov>; Carter III, Thomas (USATXS) <Thomas.Carter.III@usdoj.gov>
Cc: Murtha, Michael <mmurtha@jw.com>
Subject: RE: Discovery: 22‐CR‐612

Counsel,

Thank you for agreeing to provide the requested information.


                                                            1
           Case 4:22-cr-00612        Document 459-1          Filed on 11/08/23 in TXSD          Page 3 of 10

Please provide the time zones for all Twitter posts, Twitter DMs, Discord posts, Discord DMs, text messages, and any
other social media or other messages produced. It appears that these have been produced in various time zones, and
the materials produced do not always identify the time zone in which the messages are provided.

Also, in your March 22, 2023 letter you state that some trading blotters are produced in “Eastern Standard Time” and
others in “Eastern Time.” Are these the same or do you intend to indicate that there is a difference between the time
zones in which these records are provided?

Best regards,
Laura



Laura M. Kidd Cordova




From: Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov>
Sent: Thursday, April 6, 2023 11:13 AM
To: Cordova, Laura <lcordova@jw.com>; Garner, Mallory (CRM) <Mallory.Garner@usdoj.gov>; Liolos, John (CRM)
<John.Liolos@usdoj.gov>; Carter III, Thomas (USATXS) <Thomas.Carter.III@usdoj.gov>
Cc: Murtha, Michael <mmurtha@jw.com>; Garner, Mallory (CRM)
Subject: RE: Discovery: 22‐CR‐612

                               **RECEIVED FROM EXTERNAL SENDER – USE CAUTION**
We will shoot to get this information over to you next week.

I believe we have produced all of Mr. Hennessey’s messages that were seized. We, of course,
consistently re-review and double check our efforts to make sure we comply with our discovery
obligations. If we notice anything that should have been produced but was not, we will produce
it and let you know.




From: Cordova, Laura <lcordova@jw.com>
Sent: Tuesday, April 4, 2023 12:38 PM
To: Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov>; Garner, Mallory (CRM)                                      Liolos,
John (CRM) <John.Liolos@usdoj.gov>; Carter III, Thomas (USATXS) <TCarter2@usa.doj.gov>
Cc: Murtha, Michael <mmurtha@jw.com>; Garner, Mallory (CRM) <Mallory.Garner@usdoj.gov>
Subject: [EXTERNAL] RE: Discovery: 22‐CR‐612

Counsel,

We are not able to confirm the identities of the individuals referenced in the indictment based on the discovery
provided, so please identify the individuals.

Also, please confirm whether or not you have produced all of Mr. Hennessey’s social media messages in your
possession.

Ms. Garner, Please reproduce Production 1, Part 1, Folders 99‐110.


                                                            2
Case 4:22-cr-00612   Document 459-1   Filed on 11/08/23 in TXSD   Page 4 of 10
           Case 4:22-cr-00612         Document 459-1           Filed on 11/08/23 in TXSD           Page 5 of 10

motions, so please let us know your position on these requests. If it’s easier to get on a call to discuss, we are happy to
do that.

Discovery Requests
    1. Identify the individuals referenced but not named in the superseding indictment (e.g., “CC‐1,” “Individual‐1,”
       “CC‐2,” etc.).
    2. Provide all Rule 16 discovery, including, but not limited to, all of Mr. Hennessey’s statements within the
       government’s possession, custody, or control as well as all materials the government intends to use in its case in
       chief.
    3. All witness statements, including, but not limited to, all statements of purported victims, regardless of whether
       or not the government intends to call those witnesses at trial and regardless of how the witness statement is
       recorded, documented, summarized, or stored (e.g., recordings, written statements, agents’ interview reports,
       agents’ notes, etc.).
    4. All FBI case file materials including, but not limited to, agent notes and 302s.
    5. All Brady, Giglio, and Jencks materials.

If you believe you have already produced the discovery requested, please let us know that. If you intend to produce the
requested discovery, please let us know when. If you object to providing any of the requested discovery, please let us
know the basis for your objection.

Finally, please reproduce Production 1, Part 1, Folders 99‐110 to us. Some of the files we received are corrupted.

Best regards,
Laura




Laura M. Kidd Cordova




From: Cordova, Laura
Sent: Monday, March 13, 2023 4:52 PM
To: 'Armstrong, Scott (CRM)' <Scott.Armstrong@usdoj.gov>; 'Garner, Mallory (CRM)'
'Liolos, John (CRM)' <John.Liolos@usdoj.gov>; 'Carter III, Thomas (USATXS)' <Thomas.Carter.III@usdoj.gov>
Cc: Murtha, Michael <mmurtha@jw.com>
Subject: RE: Discovery: 22‐CR‐612

Counsel,

We are following up on our request below for you to identify the individuals identified but not named in the superseding
indictment. Please let us know if you intend to provide this information, and if not, the basis for withholding it.

Also, please let us know whether or not you have produced all of Mr. Hennessey’s social media messages (both public
and private) in your possession.

Best regards,
Laura


Laura M. Kidd Cordova

                                                              4
           Case 4:22-cr-00612        Document 459-1           Filed on 11/08/23 in TXSD          Page 6 of 10


From: Cordova, Laura
Sent: Tuesday, March 7, 2023 10:39 AM
To: 'Armstrong, Scott (CRM)' <Scott.Armstrong@usdoj.gov>; 'Garner, Mallory (CRM)'
'Liolos, John (CRM)' <John.Liolos@usdoj.gov>; 'Carter III, Thomas (USATXS)' <Thomas.Carter.III@usdoj.gov>
Cc: Murtha, Michael <mmurtha@jw.com>
Subject: RE: Discovery: 22‐CR‐612

Counsel,

Please confirm the identities and online accounts of all individuals referenced but not named in the indictment—e.g.,
Co‐Conspirator‐1; Co‐Conspirator‐2; Individual‐1; Individual‐2; other known individuals referenced in Count 1; etc.

Best regards,
Laura


Laura M. Kidd Cordova




From: Cordova, Laura
Sent: Wednesday, January 25, 2023 5:43 PM
To: 'Armstrong, Scott (CRM)' <Scott.Armstrong@usdoj.gov>; Garner, Mallory (CRM
Liolos, John (CRM) <John.Liolos@usdoj.gov>; Carter III, Thomas (USATXS) <Thomas.Carter.III@usdoj.gov>
Cc: Murtha, Michael <mmurtha@jw.com>
Subject: RE: Discovery: 22‐CR‐612

Scott,

We received your January 19, 2023 letter and have perused the discovery the government has already produced, which
we understand is the bulk of discovery in this case. Based on our review, it appears that some discovery is still missing.
Please let us know your availability for a call. We would like to make sure we understand the state of the government’s
discovery production and discuss some other matters with you as well.

Best regards,
Laura

Laura M. Kidd Cordova




From: Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov>
Sent: Friday, January 13, 2023 9:18 AM
To: Cordova, Laura <lcordova@jw.com>; Garner, Mallory (CRM)                                      Liolos, John (CRM)
<John.Liolos@usdoj.gov>; Carter III, Thomas (USATXS) <Thomas.Carter.III@usdoj.gov>
Cc: Murtha, Michael <mmurtha@jw.com>
Subject: RE: Discovery: 22‐CR‐612

                                **RECEIVED FROM EXTERNAL SENDER – USE CAUTION**
We are currently processing and reviewing the cell phones seized from Mr. Deel and Mr.
Hrvatin. We currently cannot open the cell phone of Mr. Hennessey so there is nothing to
                                                             5
           Case 4:22-cr-00612       Document 459-1         Filed on 11/08/23 in TXSD         Page 7 of 10

produce at this point. If you have additional questions next week after you review what we have
already produced to you and read our forthcoming letter, please let us know.

From: Cordova, Laura <lcordova@jw.com>
Sent: Friday, January 13, 2023 10:13 AM
To: Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov>; Garner, Mallory (CRM)                                     Liolos,
John (CRM) <John.Liolos@usdoj.gov>; Carter III, Thomas (USATXS) <TCarter2@usa.doj.gov>
Cc: Murtha, Michael <mmurtha@jw.com>
Subject: [EXTERNAL] RE: Discovery: 22‐CR‐612

Scott,

Do you expect to provide our client’s Rule 16 statements and materials next week?

Best regards,
Laura


Laura M. Kidd Cordova




From: Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov>
Sent: Friday, January 13, 2023 9:11 AM
To: Cordova, Laura <lcordova@jw.com>; Garner, Mallory (CRM)                                 Liolos, John (CRM)
<John.Liolos@usdoj.gov>; Carter III, Thomas (USATXS) <Thomas.Carter.III@usdoj.gov>
Cc: Murtha, Michael <mmurtha@jw.com>
Subject: RE: Discovery: 22‐CR‐612

                              **RECEIVED FROM EXTERNAL SENDER – USE CAUTION**
We understand our discovery obligations and will comply with them. We just produced a great
deal of information to you last week. We will provide another discovery letter next week.

From: Cordova, Laura <lcordova@jw.com>
Sent: Thursday, January 12, 2023 8:09 PM
To: Garner, Mallory (CRM)                               Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov>; Liolos,
John (CRM) <John.Liolos@usdoj.gov>; Carter III, Thomas (USATXS) <TCarter2@usa.doj.gov>
Cc: Murtha, Michael <mmurtha@jw.com>
Subject: [EXTERNAL] RE: Discovery: 22‐CR‐612

Counsel:

Following up on the request below, please let us know when we can expect to receive the additional discoverable
materials.

Best regards,
Laura


Laura M. Kidd Cordova


                                                          6
            Case 4:22-cr-00612         Document 459-1            Filed on 11/08/23 in TXSD            Page 8 of 10


From: Cordova, Laura
Sent: Thursday, January 5, 2023 4:13 PM
To: 'Garner, Mallory (CRM)'                                Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov>;
Liolos, John (CRM) <John.Liolos@usdoj.gov>; Carter III, Thomas (USATXS) <Thomas.Carter.III@usdoj.gov>
Cc: Murtha, Michael <mmurtha@jw.com>
Subject: RE: Discovery: 22‐CR‐612

Counsel:

Given our prior communications, we were surprised to see that certain key discovery seems to be lacking from the
government’s production, which we received today. To be clear, we request that the government produce all discovery
to which Mr. Hennessey is entitled. This includes, but is not limited to, discovery under Rule 16 of the Federal Rules of
Criminal Procedure, including:

    1. The substance of any oral statements made by Mr. Hennessey;
    2. Copies of any written or recorded statements made by Mr. Hennessey;
    3. Copies of any books, papers, documents, and/or data—including Mr. Hennessey’s cellphone—that is material to
       Mr. Hennessey’s defense, the government intends to use in its case‐in‐chief, or was obtained from or belongs to
       Mr. Hennessey; and
    4. Expert witness information, including:
            a complete statement of all opinions that the government will elicit from any expert witness;
            the bases and reasons for those opinions;
            the witness’s qualifications, including a list of all publications authored in the previous 10 years; and
            a list of all other cases in which, during the previous 4 years, the witness has testified as an expert at trial or
             by deposition.
Please identify all alleged co‐conspirators, including but not limited to, the alleged co‐conspirators referenced in the
indictment.

Mr. Hennessey also requests that the government produce all witness statements, regardless of whether or not the
government intends to call those witnesses at trial and regardless of how the witness statement is recorded,
documented, summarized, or stored (e.g., recordings, written statements, agents’ interview reports, etc.).

Mr. Hennessey further requests that the government identify all witnesses the government intends to call and all
exhibits the government intends to introduce at trial.

Please let us know if you have any questions or wish to discuss these requests.

Best regards,
Laura

Laura M. Kidd Cordova




From: Garner, Mallory (CRM)
Sent: Thursday, January 5, 2023 9:06 AM
To: Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov>; mford@fordobrien.com; Reyes, Luis

                                                                7
           Case 4:22-cr-00612               Document 459-1    Filed on 11/08/23 in TXSD        Page 9 of 10

<lreyes@ashcroftlawfirm.com>; Peele, Christopher <CPeele@ashcroftlawfirm.com>; jsutton@ashcroftlawfirm.com;
philip@hilderlaw.com; tate@hilderlaw.com; Stephanie McGuire <stephanie@hilderlaw.com>;
houstonstrialattorney@gmail.com; edward@msblawyers.com; Cordova, Laura <lcordova@jw.com>; Murtha, Michael
<mmurtha@jw.com>; cca@akersfirm.com
Cc: Liolos, John (CRM) <John.Liolos@usdoj.gov>; Carter III, Thomas (USATXS) <Thomas.Carter.III@usdoj.gov>
Subject: RE: Discovery: 22‐CR‐612

                                     **RECEIVED FROM EXTERNAL SENDER – USE CAUTION**
Counsel,

Attached is a cover letter and index for a production that was shipped to your offices yesterday. The password for each
zip file on the physical media is:

Please let me know if you have any trouble accessing the files.

Best,

Mallory Garner
Paralegal – Contractor, CACI
U.S. Department of Justice Criminal Division, Fraud Section
1400 New York Ave. NW Washington, DC 20005
202 – 669 – 4574


From: Armstrong, Scott (CRM) <Scott.Armstrong@usdoj.gov>
Sent: Wednesday, January 4, 2023 10:13 AM
To: mford@fordobrien.com; Reyes, Luis <lreyes@ashcroftlawfirm.com>; Peele, Christopher
<CPeele@ashcroftlawfirm.com>; jsutton@ashcroftlawfirm.com; philip@hilderlaw.com; tate@hilderlaw.com; Stephanie
McGuire <stephanie@hilderlaw.com>; houstonstrialattorney@gmail.com; edward@msblawyers.com; Cordova, Laura
<lcordova@jw.com>; mmurtha@jw.com; cca@akersfirm.com
Cc: Liolos, John (CRM) <John.Liolos@usdoj.gov>; Carter III, Thomas (USATXS) <TCarter2@usa.doj.gov>; Garner, Mallory
(CRM)
Subject: Discovery: 22‐CR‐612

Counsel,

We plan to ship out hard drives today to each of you containing our initial production in the
above-captioned case. Mr. Deel still does not have an attorney, and we will send him a duplicate
production when he retains counsel.

We have not yet moved for a protective order, given that Mr. Deel still does not have an attorney
who has entered an appearance. In the meantime, please see the attached motion for a
protective order and proposed order and confirm that you will abide to these terms before
receiving discovery and prior to the filing of this motion. If you have any questions or concerns,
please let us know.

Also, please send Mallory Garner, copied above, your shipping address for discovery, which will
be sent via FedEx.

Thank you,

Scott Armstrong
                                                              8
      Case 4:22-cr-00612     Document 459-1   Filed on 11/08/23 in TXSD   Page 10 of 10

U.S. Department of Justice
Fraud Section
202-355-5704




                                              9
